                       UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE

In re:

Integrated Healing Technologies, LLC              Case No. 3:18-bk-04526

                        Debtor.


                                  CERTIFICATE OF SERVICE

         I the undersigned, do hereby declare that on the date set forth below true and correct

copies of the Notice of Need to File Proof of Claim Due to Recovery of Assets (Docket No. 22),

were served via first class U.S. mail on August 8, 2018 to the following:

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Dated: August 8, 2018                         /s/ John C. Tishler
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